                           Case 5:20-mj-00255-SM Document 1 Filed 06/05/20 Page 1 of 11
AO 9)(rev.lI/11) Criminal Complaint                              AllTHORIZED AND AI'PROVED DATE:
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                                         United States Distriet Court
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                                                                                                                        JUN- 5 2020
                           WESTERN                           DISTRICT OF                           OKLAHOMA
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                                                                                                            BY                        .DEPUTY
          UNITED STATES OF AMERICAN,

                      V.

                                                                                        Case No:   A1- T-O'ZSsSfA
          CHRISTOPHER STEVEN LEDBETTER,



                                                    CRIMINAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

          On or about the date(s) of June 4, 2020, in the county of Oklahoma, in the Western District of Oklahoma, the defendant

          violated:



          Code Section                                              Ojfense Description

          18U.S.C. §922(o)(I)                                       Possession of Machine Gun




          This criminal complaint is based on these facts;

          See attached Affidavit of Special Agent James A Anderson, of the Federal Bureau of Investigation which is incorporated and
          made a part hereof by reference.

          □ Continued on the attached sheet.




                                                                                          JM^S A. ANDERSON
                                                                                          Special Agent
                                                                                          Federal Bureau of Investigation



Sworn to before me and signed in my presence.

Date: ^
                                                                                                              'ge s signature

City and State: Oklahoma City. Oklahoma                                                   SUZANNE MITCHELL. US Magistrate Judge
                                                                                                        Printed name and title
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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF OKLAHOMA


 UNITED STATES OF AMERICA


              V.
                                                Case No.   At

 CHRISTOPHER STEVEN LEDBETTER




                             AFFIDAVIT IN SUPPORT OF
                        AN APPLICATION FOR COMPLAINT


       I, James A.Anderson, Special Agent with the Federal Bureau ofInvestigation, being

duly sworn, hereby depose and state as follows:

                   INTRODUCTION AND AGENT BACKGROUND


       1.      I am a Special Agent with the Federal Bureau of Investigation (FBI), and

have been so employed since July 20, 1997. I am currently assigned to the Joint

Terrorism Task Force of the Oklahoma City field office. As a Special Agent, I investigate

violations of federal criminal law.


       2.      As a Special Agent, I have conducted and participated in a variety of

criminal and national security investigations, including investigations associated with

foreign counterintelligence, counterterrorism, murder, bank robberies, fugitives, financial

crimes, computer crimes, as well as other violent criminal acts.

       3.      I make this affidavit in support of a criminal complaint for

CHRISTOPHER STEVEN LEDBETTER("LEDBETTER"). Based on my training

and experience and the facts as set forth in this Affidavit, I believe there is probable cause

to believe that LEDBETTER knowingly committed the following offense against the
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United States, to wit: Title 18, United States Code, Section 922(o)(l), possession of a

machine gun. ^

       4.      The facts in this affidavit are based on knowledge obtained through my

direct participation in this investigation, information provided to me by other law

enforcement officers, agents, and witnesses, and a review of documents and records.

Since this affidavit is being submitted for the limited purpose of securing a criminal

complaint, I have not included each and every fact known to me regarding this

investigation. I have set forth only the facts that I believe are necessary to establish

probable cause to support the issuance of a criminal complaint.




^ Under 18 U.S.C. § 922(o), it is a federal crime for any person to transfer or possess a
machinegun. For purposes of a criminal violation under 18 U.S.C. § 922(o), 18 U.S.C.
§ 921(a)(23) adopts the definition of"machinegun" as set forth in the National Firearms
Act, 26 U.S.C. § 5845(b). According to 26 U.S.C. § 5845(b)

       The term "machinegun" means any weapon which shoots, is designed to
       shoot, or can readily be restored to shoot, automatically more than one shot,
       without manual reloading, by a single function ofthe trigger. The term shall
       also include the frame or receiver of any such weapon, any part designed and
       intended solely and exclusively, or combination of parts designed and
       intended, for use in converting a weapon into a machinegun, and any
       combination of parts from which a machinegun can be assembled if such
       parts are in the possession or under the control of a person.

26 U.S.C. § 5845(b). Accordingly, based on my training and experience, an AK-47-style
carbine which has been modified to shoot in fully automatic mode meets the definition of
"machinegun" for purposes of 18 U.S.C. § 922(o).
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                      FACTS SUPPORTING PROBABLE CAUSE


       5.      In March 2020,FBI learned that LEDBETTER might be in possession of a

fully automatic Avtomat Kalashnikova("AK-47")style carbine(machine gun).

       6.      On March 4, 2020, an investigator with the Oklahoma Highway Patrol

(OH?)provided FBI with a video that OH? accessed and downloaded from

LEDBETTER's publicly-accessible Facebook page. The video depicts LEDBETTER

engaging in military-style tactical training in a partially wooded field. The video is a

first-person perspective from a camera mounted on a person's head. The person

recording the video is shooting what appears to be a fully automatic AK-47-style carbine

(machine gun). This individual is wearing a tan glove on his left hand and his voice can

be heard. As part ofthis investigation, I have reviewed multiple videos in which

LEDBETTER can be heard speaking. In some ofthese videos, LEDBETTER is also

wearing a tan glove on his left hand. Additionally, LEDBETTER is known to wear a

tactical helmet with a GoPro-type camera mounted to the front. I believe LEDBETTER

to be the person shooting the AK-47 and speaking in this video.

       7.      On April 30, 2020, Affiant observed a news article on the Internet titled,

"Protesters turn out at Kansas Capitol Thursday." The article, from KMBC News 9

(ABC), dated April 23, 2020, reflected a news story about a group of protesters that

showed up at the Capitol Building in Topeka, Kansas, wherein they were protesting

recent "stay-at-home" orders issued by the Kansas Governor as a result ofthe COVID-19
                                             3
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pandemic. In the article, LEDBETTER is quoted as stating,"As you can see, I got

weapons right on me. I got illegal weapons on me. But none ofthem are going to do

anything because I'm a peaceful person. Right?" The article also had a video attached to

it wherein the local News 9 Reporter was talking with LEDBETTER. The video depicts

LEDBETTER with an AK-47-style carbine, wearing tactical gear, a helmet, and

carrying multiple magazines.

       8.      On May 4, 2020,1 observed a video posted on LEDBETTER's publicly-

accessible Facebook page, dated May 3, 2020 at 2:34 PM,located at URL

https://www.facebook.eom/christopher.ledbetter.9. display name "Christopher

Ledbetter," attributed to Facebook Profile ID 100003681487662. The video depicted

approximately eight individuals engaged in what appeared to be tactical "room entry"

training commonly known as Close Quarters Battle or "CQB." The video appears to be

from a camera mounted on the head of an individual. This individual appears to be firing

an AK-47-style carbine and is firing in a fully automatic mode. The individual who

appeared to be videoing can be heard speaking. Investigating agents familiar with

LEDBETTER believe that the shooter's voice is LEDBETTER's. Additionally, the

person firing the fully automatic firearm has tattoos on his left arm that are consistent

with tattoos I have observed on LEDBETTER in other photographs and videos. The

first paper target, which is shot with full auto, is a silhouette labeled "POLICE" with a

badge drawn over the left chest(where a police officer would typically wear his/her

badge). The video was also posted on YouTube, entitled "Training," dated May 4,
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2020. That video is attributed to YouTube subscriber "Christopher Ledbetter" and was

found at the URL: https://www.voutube.eom/channel/UCb0rdPvvxs3tSK6GrdkrwqA.

       9.      On May 22, 2020, Affiant observed a publicly accessible YouTube video

posted on the Internet at URL:

https://www.voutube.com/watch?v=RrAtwfiPwKY&feature=voutu.be. The video was

dated May 22, 2020, and was titled "Update. Liberty or Death." It was posted on the

YouTube page corresponding to the display name "Christopher Ledbetter," at:

https://www.voutube.eom/channel/UCbOrdPvvxs3tSk6GrdkrwqA. LEDBETTER can

be seen standing near the McLoud Police Department in McLoud, Oklahoma. He is

wearing camouflage pants, a tactical helmet with a mounted camera, and holding an AK-

47-style carbine.

       10.     FBI has also reviewed Facebook content(between the period of October 1,

2018 through May 6, 2020) associated with LEDBETTER's Facebook page, Facebook

User ID(UID) 100003681487662, found at URL

http://ww^w.facebook.com/christopher.ledbetter.9. This Facebook account has numerous

photos ofLEDBETTER uploaded by the accountholder, voice messages from the

account holder which I believe to be LEDBETTER's voice, and videos posted by the

accountholder which depict LEDBETTER.

       11.     FBI located the videos previously described in paragraphs 6 and 8 while

reviewing the Facebook content. That content corroborates that LEDBETTER posted

the referenced videos.
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       12.       FBI's review of the Facebook return also provided numerous conversations

in which LEDBETTER discusses fully automatic weapons. Among other things,

investigators observed the following:

              a. On February 29, 2020 at 01:30:27 UTC,LEDBETTER replied to a

                 comment:"I'm still man enough to use machine guns and explosives here

                 without a cute uniform, roll out and do your job plz."

              b. The following conversation took place via Facebook Messenger between

                 LEDBETTER(UID: 100003681487662) and FBU^ 7 from March 7, 2020

                 at 00:26:45 UTC to March 7, 2020 at 00:31:49 UTC:


                    >   Author: FBU 7
                        Sent: 2020-03-07 00:26:45 UTC
                        Body: I dont remember how we met, but im very thankful

                    > Author: Christopher Ledbetter(Facebook: 100003681487662)
                        Sent: 2020-03-07 00:28:29 UTC
                        Body: © you literally commented on one of my comments on a post
                        "this guy I will boog^ with". Hahaha hell yeah bro can't keep the
                        goons from finding each other Imao

                    >   Author: FBU 7
                        Sent: 2020-03-07 00:29:29 UTC
                        Body: Fuck yes. If it actually kicks off and if everyone gets together,
                        itll be fun as shit till we actually start shooting


^ FBU refers to "Facebook User." Facebook records provide the name of the individuals
in the comments and/or messages. Their names are being redacted to protect their
identities.

^ I believe, based on the totality ofthe conversation and investigation,"boog" is short for
"boogaloo," which refers to a future civil war.

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                 > Author: Christopher Ledbetter(Facebook: 100003681487662)
                     Sent: 2020-03-07 00:31:49 UTC
                     Body: From my view over here that will be better than waiting to get
                     offed everyday © this transition part is the hardest shit. At least then
                     it is what it is no more maybes. And hey still be a blast while you're
                     getting them just sucks when they get any one of us ha


          0. On March 14, 2020 at 23:54:09 UTC,LEDBETTER replied to a comment

              by FBU 8: "cool excuses, still get fucked. I'll be the one driving without

              my seatbelt on with a select fire and grenades pussy. You can't make

              enough money so you rob shit the legal way "for good" instead ofthe

              illegal way, motivated by cowardice and laziness nothing more.'"*

          d. On April 20,2020 at 18:51:16 UTC,LEDBETTER commented on a post:

              "I keep the select fire and explosives inside cause I'm not a good dick

              sucking bitch."

          e. On April 21, 2020 at 03:43:42 UTC,LEDBETTER replied to a comment

              by Facebook usemame FBU 9:"do it. I like carrying a select fire and

              grenades just to make sure I'm always illegal lol."

          f. On April 24, 2020 at 22:15:10 UTC,LEDBETTER sent the following

              message to FBU 10:"Been trying to do all I can and get all the extra guys I

              can, but it's a losing battle trying to fight for people that won't stand up for


^ Based on my training and experience, your Affiant believes that select fire, or selective
fire, is a firearm with the capability of firing in multiple modes-typically a semi
automatic mode(one shot per trigger pull) and at least one fully automatic mode (burst or
unrestricted).
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               themselves or don't want you to. Like here we can run around with

               automatics and explosives and tell the cops to suck our dicks because they

               know we will die for it at this point. But then we have offered shop owners

               protection to open back up and most ofthem decline just cause they are

               scared of breaking the law. Ifthe bend the knee there for this and Duncans

               family gets fucked more with no protection, they will be getting visited

               sooner or later by those that are willing to take a stand."

             g. On May 1, 2020 at 23:38:25 UTC,LEDBETTER replied to a comment by

               FBU 11:"ah I see. Na I've never had an SBR/SMG. Just run a select fire

               and a few grenades BDC lol."

       13.     I caused a search to be conducted ofthe Bureau of Alcohol, Tobacco,

Firearms and Explosives's(ATF)federal licensing system. That search determined that

LEDBETTER does not have the required licenses to possess a machine gun.

       14.     On June 4, 2020, LEDBETTER was arrested by FBI Agents in Oklahoma

City pursuant to a state arrest warrant. While being taken into custody, for officer safety

and public safety, FBI agents asked LEDBETTER whether there were any explosives in

the vehicle. Agents told LEDBETTER they appreciated him being straightforward.

LEDBETTER gestured toward his vehicle (a 2017 blue Jeep Wrangler, Oklahoma tag

HXT771)with his head and stated, "I've always been straight forward. That rifle in there

is select fire. You have them." FBI agents understood his statement to mean that he had a
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fully automatic weapon in his vehicle, and if government agents could have them, then he

should also be able to have them.


       15.       Based on the exigency, in part due to LEDBETTER's previous statements

concerning his manufacturing and carrying of grenades and explosive devices, his prior

possession ofa fully automatic AK-47-style carbine, and his acknowledgement that he had

a "select fire" in his blue Jeep Wrangler Sport, FBI did a limited search ofthe vehicle. FBI

located two carbines,including the AK-47-style carbine and an improvised launcher loaded

with an unknown munition.


       16.       Additionally, a federal warrant was secured for the search and seizure of

LEDBETTER's 2017 blue Jeep Wrangler Sport (Oklahoma tag HXT771). Pursuant to

the search, agents seized an AK-47-style carbine, serial number GV 2300.

       17.       On June 4, 2020, an ATF Special Agent examined the AK-47-style carbine

(serial number GV 2300)found in LEDBETTER's vehicle. He advised the receiver was

manufactured by Childers Guns in Fairmont, West Virginia. The ATF agent function-

tested the gun and found it capable of functioning as a machine gun. The ATF agent

advised that it is a firearm with the capability of firing in multiple modes, in a semi

automatic mode (one shot per trigger pull) and at least one fiilly automatic mode (burst or

unrestricted).

       18.       On June 4, 2020, FBI Agents interviewed LEDBETTER subsequent to his

arrest on state charges. During the voluntary interview, LEDBETTER admitted, among

other things, that he possessed an illegal select fire AK-47-style carbine.
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                                     CONCLUSION


       19.    Based on the forgoing, I believe there is probable cause to believe that on

June 4, 2020, in Oklahoma City, Oklahoma, in the Western District of Oklahoma,

CHRISTOPHER STEVEN LEDBETTER did knowingly possess a machinegun, as

defined in Title 18, United States Code, Section 921(a)(23), that was not registered to him

in violation of Title 18, United States Code, Section 922(o).

         FURTHER,YOUR AFFIANT SAYETH NOT.



                                              Respectfully submitted,

                                                                Ql
                                                     A. Anderson
                                              Special Agent
                                              Federal Bureau of Investigations



       Subscribed and sworn to before me on JUr^ >                               ,2020



         )NgRABLE SUZANNE MITCHELL
       UNITED STATES MAGISTRATE JUDGE




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